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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Criminal No. 21-cr-399 (RDM)
                                              :
ROMAN STERLINGOV,                             :
                                              :
                       Defendant.             :

             GOVERNMENT’S MEMORANDUM IN AID OF SENTENCING

       The United States of America, by and though the United States Attorney for the District of

Columbia, respectfully submits its Memorandum in Aid of Sentencing.                The government

recommends that the defendant be sentenced to a term of imprisonment of 30 years and a fine of

$100,000. The government respectfully submits that such a sentence would adequately serve the

interests of justice as codified in 18 U.S.C. § 3553(a). In support of this motion, and to assist the

Court in fashioning an appropriate sentence, the government submits the following:

                                  FACTUAL BACKGROUND

       A. Introduction

       Following the defendant’s arrest in April 2021 and subsequent indictment, the Court

presided over an approximately one-month jury trial in February and March 2024. At the

conclusion of the trial, on March 12, 2024, the jury returned a verdict of guilty on all four charged

counts: Money Laundering Conspiracy, in violation of 18 U.S.C. § 1956(h); so-called “Sting”

Money Laundering, in violation of 18 U.S.C. § 1956(a)(3)(A); Operating an Unlicensed Money

Transmitting Business, in violation of 18 U.S.C. §§ 1960(a) & 2; and Operating an Unlicensed

Money Transmitting Business, in violation of D.C. Code § 26-1023(c). The jury further reached

a verdict on March 12, 2024, that several assets involved in the case, including assets within the




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defendant’s accounts and remaining cryptocurrency in Bitcoin Fog, constituted property, real or

personal, involved in the federal offenses of which the defendant was convicted.

        The trial, and the jury’s verdict, established two essential facts that should guide the Court

in determining a sentence. First, between 2011 and 2021 Bitcoin Fog laundered tens of millions

of dollars for Darknet narcotics dealers, and facilitated illegal conduct by other individuals. Those

other individuals even included those who participated in a Darknet site—Welcome to Video—

for trafficking child sexual abuse material. Bitcoin Fog catered to criminals and that was its

attraction; Bitcoin Fog did not discriminate so long as willing participants agreed that their

cryptocurrency sent to Bitcoin Fog would be left untraceable in exchange for a one to three percent

fee.

        Second, Roman Sterlingov conceived of, set up, owned, operated, and profited from

Bitcoin Fog. The defendant’s Bitcoin Fog site and its operation at a high level of security ensured

both that his customers would be satisfied with the anonymization of their illegally obtained

cryptocurrency, and that law enforcement would never track down the defendant behind the site.

The defendant collected a significant amount of service fees and by doing so left his fingerprints

on Bitcoin Fog.

        B. The Success of Bitcoin Fog

        The jury heard testimony that while the identity of a Bitcoin address owner is generally

anonymous, law enforcement can on its own and/or in conjunction with commercial services

analyze the address of the cryptocurrency that appears on the ledger-like blockchain. Bitcoin Fog

mixed its deposits and returned other Bitcoin to its users. With sufficient funds in Bitcoin Fog, a

user would walk away with Bitcoin completely unrelated to any prior transaction deposits, and

then face less exposure in cashing the Bitcoin out. Legitimate virtual exchanges were obligated to




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use Know Your Customer (KYC) rules as part of a regulatory scheme to deter money laundering;

the defendant knew his customers were engaged in illicit activity and that they could not reveal

their source of cryptocurrency funds to legitimate virtual currency exchanges.

       The defendant’s Bitcoin Fog mixer was highly successful. Between the defendant sending

the very first cryptocurrency to the Bitcoin Fog wallet on November 10, 2011, before the site had

even been publicly announced, and around the time of the defendant’s arrest in April 2021, the

Bitcoin Fog site took in cryptocurrency valued at the time of deposit at approximately

$395,501,956. Bitcoin Fog at the beginning took in merely $13,797 in the last couple of months

of 2011, ramped up to more than $4 million in 2012, and from then on never took in less in a full

year than $35 million in deposits. Even in 2021, terminating with the defendant’s arrest in April,

Bitcoin Fog had already received deposits of more than $17 million in a few months. At the time

of the defendant’s arrest, Bitcoin Fog was a successful program with a proven track record of

effective money laundering and was thriving.

       The Bitcoin Fog site after receiving deposits then returned other cryptocurrency to the user,

minus the 1-3 percent fee. Around the time of the defendant’s arrest in April 2021, there was

approximately 1354 Bitcoin remaining (as of February 21, 2024, about $70 million) in the Bitcoin

Fog wallet. Those funds were left in the site untouched since April 29, 2021. In total, about $335

million had been processed through the site prior to the defendant’s arrest. Again, the site was an

overwhelming success.

       C. Bitcoin Fog Users

       Who benefited from the operation of Bitcoin Fog? The Court heard extensive testimony

about who deposited money into the Bitcoin Fog site, and none of the truthful testimony concerned

depositing money for libertarian privacy principles. Instead, government investigators showed




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that individuals operating as illegal narcotics vendor mixed their Bitcoin funds through Bitcoin

Fog:




        As shown above in Government Exhibit (“GX”) 601, vendors from established Darknet

sites selling illegal narcotics and other illegal goods used Bitcoin Fog for its intended purpose to

launder the Bitcoin received from buyers (and buyers used Bitcoin Fog to anonymize themselves

as well).   As discussed infra, the government recovered evidence showing Bitcoin Fog’s

laundering of tens of millions of dollars through thousands of deposits to Bitcoin Fog and presented

that evidence to the jury. The vendors, in selling illegal narcotics to their customers, openly

displayed their wares. Vendor Symbiosis on the site Silk Road, for example, openly advertised

the sale of “uncut Cocaine flake.” GX 608.a. Symbiosis was then able to take cryptocurrency

from its narcotics purchasing customers and deposit more than $1.5 million of it into Bitcoin Fog

so that the revenues could not be traced. GX 601.a.




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       Welcome to Video, a platform used to distribute child sexual abuse material (CSAM), did

not operate on the same model as drug trafficking Darknet markets, with vendors selling drugs for

profit. Instead, users of Welcome to Video could pay Bitcoin into the site to gain access to CSAM

images. Many of these users also used Bitcoin Fog to anonymize payments made to the site. (As

shown below, that this type of material would be for sale on the Darknet was a surprise to almost

no one, much less the defendant). This of course had the effect of anonymizing the users who

purchased the material. The jury further heard from Ilya Lichtenstein, who stole cryptocurrency

and used Bitcoin Fog to launder a portion of it, and Larry Harmon, who earned cryptocurrency

through his deployment of a Google-like search engine for the Darknet, designed to facilitate

searching for and purchasing drugs from vendors across multiple Darknet markets. Mr. Harmon

used Bitcoin Fog for the same reason. Bitcoin Fog took Bitcoin and laundered it for anyone and

everyone.

       D. The Pitch of Bitcoin Fog to Illegal Vendors

       The defendant, who used the monikers Akemashite Omedetou and Killdozer and Meth!,

among others, was fully aware that Bitcoin Fog would be used to launder Bitcoin from illegal

vendors on the Darknet. As he noted succinctly about a month before creating Bitcoin Fog, Bitcoin

and narcotics went hand in hand. “Also, like Silk Road, go ahead and accept payments in bitcoins;

then, you will not be intimidated by even the U.S.” GX 55.a at 34 (9/22/11 post).

       The defendant had an understanding that legitimate exchanges of Bitcoin were “run as

legitimate visible businesses, which will be forced to reveal information about your funds, should

such a request be made by the authorities.” GX 1 at 45. Likewise, law enforcement could make

use of individual transactions to “track your money around the network.” GX 13 at 4. The

defendant was referring to exchanges that ran business in stated compliance with KYC and Anti-




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Money Laundering (AML) laws.             For example, in responding to a customer query about

“blockchains Shared Coin feature,” the defendant responded “Blockchain is a public company and

is required by law to comply with anti-money laundering laws, as well as revealing user

information and logs, should the law require that.” GX 1 at 74.

           The defendant advertised how his Darknet site worked on Bitcoin Talk. Touting the value

of the Tor network, the defendant bragged that his site “will never be found and dealt with by

proper authorities . . . not only will we not cooperate with any authorities, the authorities will not

actually be able to show up at our doorstep.” GX 1. The defendant even advertised that the site

would purge its logs each week. “That way, if you have received a payment from us a month ago,

not even the address will be left on our server.” GX 1 at 3. Thus the defendant provided complete

anonymity to Bitcoin Fog’s users. Use of the service would give the customer “plausible

deniability” since no one could “actually prove that those bitcoins came from your account[]” GX

13 at 5.

           The defendant advertised the site as “for people who have real problems for the law and

we provide them the best possible service, and highest possible anonymity” GX53. Those who

had “real problems for the law” would mix “your bitcoins in our own pool with other users’

bitcoins, and get paid back to other accounts from our mixed pool[].” GX 53 at 230. Thus, from

the outset, the defendant established that the cryptocurrency deposited from vendors would

contribute to the efficacy of and facilitated its activities, as this Court has already found in litigation

over whether the defendant was entitled to use funds seized from various accounts that had

originally been mixed with Bitcoin Fog. ECF No. 116 at 14-15 (“By running funds through Bitcoin

Fog, Sterlingov facilitated its operations, irrespective of how the funds were initially procured”).

The pool of deposits was the essence of Bitcoin Fog. GX 1 at 41-42 (responding to a customer




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who asked about the money “laundered” on the site as to the size of the pool). Even if a person

was to use Bitcoin Fog to anonymize hypothetically clean cryptocurrency, that had the effect of

increasing the pool of funds and further anonymizing dirty cryptocurrency. 1

       Sterlingov was fully aware that narcotics dealers—and possessors of child sexual abuse

material—on the Darknet would use his service. In his October 2011 announcements of the

Bitcoin Fog site, the defendant mentioned Silk Road, about which the defendant was well aware,

and which at the time had not yet been shut down. GX 13 at 5 (10/27/11 post); id. at 79 (2012

feed entry indicating “Silk Road mostly sells drugs”). On Exploit.in, a site used by cybercriminals

to exchange information, the defendant, using his moniker Meth!, stated “for years, drugs are sold

and (unfortunately) child pornography distributed through it . . . if you configure such a server

correctly, then no matter how hard one tries, no one will fucking find where it is[.]” GX 55.a. The

defendant noted Bitcoin Fog also had a customer service feature which allowed it to receive

customer inquiries. GX 608.q (complaint by Symbiosis). When Agent Matthew Price deposited

money in November 2019 to the site as an undercover, he made use of this communication service,

stating, “I created my account to clean my coins from selling ecstasy. I sold molly on apollon and

ive been selling on WSM and dream . . .I need help cleaning my bitcoin.” GX 204.c.




1
 As it was the nature of Bitcoin Fog to obscure its users, it is not surprising that a significant
amount of users were never identified. But no evidence was elicited at trial, other than in the
untruthful testimony of the defendant, that any particular deposit into Bitcoin Fog over its ten years
of operation came from licit activity, or that a user of Bitcoin Fog actually deposited licit activity
derived funds into Bitcoin Fog at the cost of the one to three percent fee. Cf. ECF No. 312 (“Def.
Obj. to Draft Presentence Investigation Report”), ¶ 1 (asserting without foundation that “many
users of mixers mix their bitcoin for legitimate financial privacy reasons and not all bitcoin going
through BTCF was illicit”).


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         E. The Defendant’s Profit

         Bitcoin Fog laundered cryptocurrency related to illegality, and the defendant profited from

it. That the site took a percentage fee from each transaction demonstrates that every participant

was willing to pay money to anonymize their currency, and that Bitcoin Fog would profit. The

Court heard testimony by Luke Scholl that the administrator of Bitcoin Fog would have earned

commissions, before expenses and valued at the time of the transaction, of somewhere in the range

of $3.95 million to $11.8 million over the almost ten years of the scheme, depending on the actual

percentage taken of each deposit, which percentage was randomized. GX 325, 2/21/24 PM Tr. at

91-92.

         The government does not have a complete picture of the defendant’s finances during this

time period. 2 Nevertheless, the government did recover significant data about the defendant’s

accounts with Binance, Bitfinex, BitPay, Bitstamp, BTCe, Kraken, Local Bitcoins, and others. GX

305. It also recovered more than $500,000 in Bitcoin on the defendant’s person within a Mycelium

wallet at the time of his arrest, and seized funds and various cryptocurrencies from the defendant’s

Kraken account valued, at the time of the seizure, at more than $848,000.            The accounts

demonstrated that the defendant was an active trader in Bitcoin between 2011 and 2021, but there

is no evidence that the defendant through trading savvy expanded his pool of Bitcoin or received

his Bitcoin legitimately. Rather, the defendant over the course of ten years appeared to be a young

man earning somewhere between $11,000 and $44,000 a year, an income level inconsistent with




2
  The Draft PSR states that with respect to the defendant’s financial information that probation was
to have received information completed in January 2023 but defense counsel had not yet provided
that information. Draft PSR, ¶ 117.


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the funds seized. 3 Yet during the same time period, the defendant’s various accounts were

receiving significant funds from Bitcoin Fog, consistent with a person who was the administrator

of the site and therefore receiving the cut of the deposits. The defendant’s LocalBitcoins Account

contained deposits of $870,941 in Bitcoin, the vast majority of which came from Bitcoin Fog. GX

356. The defendant’s Kraken account contained deposits of $418,394 in Bitcoin, the vast majority

of which came from Bitcoin Fog. GX 356. The defendant’s Mt. Gox account included deposits

of which more than half came from Bitcoin Fog. GX 356. The defendant’s Bitstamp account

included deposits of $125,180 and it appears that the entirety came from the mixing site. As Luke

Scholl testified, the primary source of funds into the defendant’s financial accounts at the various

cryptocurrency exchanges was from Bitcoin Fog. 2/22/24 PM Tr. at 3. Likewise, the defendant’s

phone contained a Mycelium wallet application containing more than 10 Bitcoin, then valued at

over $500,000 at the time of his arrest, and that money also primarily came from Bitcoin Fog.

2/22/24 AM Tr. at 81 (“The funds came straight out of the Bitcoin Fog cluster”).

       The defendant’s Bitstamp transactions and communications clearly demonstrate that the

defendant could not articulate where he got his Bitcoin from without telling falsehoods about it.

In August 2016, Bitstamp asked if the defendant was using “cryptocurrency tumblers” (mixers).

GX 414C at 11-12. The defendant responded “I don’t know if I did with that—with those specific

funds sent to your exchange . . . I haven’t done this recently, but my account here is very old.”

Neither of these statements was true. The defendant was both using funds coming out of Bitcoin

Fog to send to Bitstamp, and at the time of the inquiry in August 2016 the defendant was still

receiving funds from Bitcoin Fog. 2/22/24 PM Tr. at 5 (Scholl). It is clear that the defendant lied



3
 Yet the defendant was also able to expend more than $90,000 between 2014 and 2016 in Prepaid
Financial Services funded by XML Gold, which came from various other sources—activity
consistent with attempting to layer funds.


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to an exchange seeking information consistent with its legal obligations because he did not want

Bitstamp to know that his source of income was illegitimate.

       Likewise, in March 2018, Bitstamp again inquired about a small Bitcoin deposit made on

February 12, 2017, with the address beginning 1HEMZA. GX 414C at 16. In response, the

defendant provided an invoice purported to be record of a payment made by a client for the

defendant’s fabricated business Code Reactor. The invoice contained several ways to pay, but the

Bitcoin address provided to the “customer” and through the defendant as proof to Bitstamp was

not actually a valid address. 2/22/24 PM Tr. at 9. When asked, the defendant complained that

there was a typographical error. Id. at 10. When Bitstamp continued to press about the origin of

the defendant’s cryptocurrency, the defendant wrote a note to himself: “Bitstamp dollars, probably

like 50K? Withdrawn everything when they started delaying withdrawals and asking for ten stupid

questions. Do not use them. Tell everyone to stop using them.” GX 711.a; 2/22/24 PM Tr. at 14-

15. The defendant recognized that Bitstamp could see that the defendant’s story was nonsensical.

Indeed, the defendant created other fake invoices, which had Bitcoin addresses resolving to Bitcoin

Fog, not to other clients paying him for services. GX 719A, 2/22/24 PM Tr. at 17 (Scholl). As

the government showed the jury, these Code Reactor invoices claimed to offer customer payment

to Bitcoin address 1EuDR, but the actual 1EuDR payments resolved back to Bitcoin Fog. GX

305.a. The Court should reasonably should infer the obvious: that the defendant created the Code

Reactor invoices to create false sources of cryptocurrency income, when in fact the cryptocurrency

came from Bitcoin Fog, and further infer that the defendant did so in order to disguise his Bitcoin

Fog income from legitimate inquiries from such exchanges as Bitstamp. The source of income

came from the administrative fees for withdrawing to Bitcoin Fog and collected by the defendant.




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       F. The Defendant’s Operational Security and the False Registration of a Domain
          Name

       The Court heard testimony concerning the various means by which the defendant attempted

to place layers between his own true identity and Bitcoin Fog. In the incorporation of the clearnet

domain, the defendant set up four Mt. Gox accounts and two Liberty Reserve accounts in

September and October 2011, used them to disguise the payment for the domain, as well as for

some testing transactions, but by November 2011 would never use several of those accounts again.

The defendant created and ran Bitcoin Fog on Tor and boasted of its anonymity. “And all because

if you configure such a server correctly, then no matter how hard one tries, no one will fucking

find where it is…” GX 55.a at 34 (9/22/11 post). The record is replete with examples of the

defendant’s relentless focus on networking tools that would further insulate him from being

identified. See GX 710.a (complaining that cybersecurity software SpiderOak had been “burned”);

GX715.a (noting to self to eliminate any SpiderOak software); 714.a (noting other “burned”

VPNs). The defendant ran servers for his scheme in other countries and then deleted their contents

before they could be located by law enforcement. He ran virtual computers on his traveling

computer that would link back to his computer in Sweden, all in pursuit of being able to operate

Bitcoin Fog without attribution.

       It is not surprising therefore that the defendant gave false information when registering the

clearnet site.   The defendant set up the Bitcoin Fog clearnet site www.bitcoinfog.com by

transferring money through various accounts specifically set up for the establishment of the site,

then to the Shormint Liberty Reserve Account, and then to High Hosting on October 25, 2011.

GX 313.a. As part of the government investigation, the government obtained records establishing

that bitcoinfog.com was registered at High Hosting in 2011 by the defendant using the moniker

Akemashite Omedetou with shormint@hotmail.com as the email address. GX 504.a.. High



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Hosting records from October 25, 2011 demonstrated that it had received payment of Liberty

Reserve currency from the same moniker and email. GX 502.a. Later, in February 2012, the

defendant transferred bitcoinfog.com to mainnameserver.com, using the same moniker. GX

504.b; 2/28/24 AM Tr. at 37. The defendant renewed the Bitcoin Fog domain registration, again

using the same moniker. GX 811. The defendant continued to use the Akemashite Omedetou

moniker to register the domain for the clearnet site because it was part of his scheme to avoid

detection by law enforcement.

       G. The Defendant’s False Testimony

       After the government’s presentation of evidence, the defendant testified and denied setting

up and running Bitcoin Fog. The jury, in finding the defendant guilty of all four charges, clearly

rejected the defendant’s testimony.

       The defendant claimed he could not remember setting up the Clearnet domain

BitcoinFog.com. 3/6/24 PM Tr. at 6 (“And I doubt that I would have done it and not remember

it”); 9 (affirming that he answered “That’s correct” in response to a question from Wired Magazine

with respect to setting up the Bitcoin Fog domain that “You did not deny it to them and you’re not

denying it today?”). The defendant, in being asked about specific transactions, frequently stated

he did not remember specific transactions. 3/6/24 PM Tr. at 17 (“I don’t remember specific

transactions like this from 13 years ago”). The defendant not only denied remembering specific

transactions but the reasons for the transactions, which were to set up Bitcoin Fog. 3/6/24 PM Tr.

at 20 (Q: “Even if you don’t remember the exact details of this transaction, do you remember what

it was for?” A: “No.”) The defendant could not identify any peer-to-peer sale that would explain

the layers of activity he made to pay for the registration of the Bitcoinfog.com Clearnet domain.

GX 313.a; 3/6/24 PM Tr. at 22.




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        The defendant explicitly denied his connection to Shormint@hotmail.com, the Liberty

Reserve account used to fund the clearnet address, stating it was not his account. 3/6/24 PM Tr.

at 23-24 (“I have no recollection of sending any funds from this account or seeing this account

before.); 3/7/24 Tr. at 39 (reviewing GX 313.a, “I don’t know specifically what this transaction is

or isn’t”). He also explicitly denied that he set up Bitcoin Fog, claiming instead that he heard

about Bitcoin Fog from another individual. 3/6/24 PM Tr. at 31. He also denied his first

transaction on Bitcoin Fog. 3/6/24 PM Tr. at 33-34. While he admitted to using the moniker

“Killdozer,” which is the moniker used to communicate with the Blind Bitcoin creator Duncan

Townsend just prior to the defendant setting up Bitcoin Fog, he equivocated whether he controlled

that account and made that communication. 3/6/24 PM Tr. at 40 (“There’s also another possibility

that I was sharing my account with somebody who needed to just access the forum.”). 4

        The defendant also testified that the source of the more than a million dollars in funds he

obtained from Bitcoin Fog was the buying and selling of Bitcoin as an early investor. 3/7/24 AM

Tr. at 37.

        The defendant also testified about his company, Code Reactor, as well as an exchange

involving the February 12, 2017 deposit into Bitstamp discussed above. The defendant claimed

that these were “real freelance jobs,” though he also acknowledged that he did not know “how

much was each job and how much was each invoice for.” 3/7/24 AM Tr. at 40. The defendant

further claimed to have created invoices that were for work he did three or four or more years

earlier. 3/7/24 AM Tr. at 45. He then denied that he used his Code Reactor invoices to money




4
 There was no evidence introduced at trial, other than self-serving claims by the defendant that he
shared accounts, that “it is common in the technology industry for multiple individuals to use the
same account.” Def. PSR Obj. ¶ 4.


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launder. 3/7/24 AM Tr. at 52. As previously noted, several of the invoices included Bitcoin

addresses that were tied to Bitcoin Fog.

       In summary, the defendant voluntarily testified under oath that he did not create Bitcoin

Fog, denied involvement in key transactions involved in its creation, and claimed to have come

lawfully by his Bitcoin that in fact originated from his own site.           As the trial evidence

overwhelmingly showed—and as the jury’s verdict reflects—his testimony was false.

                                 SENTENCING GUIDELINES

       A. Statutory Maximums and Mandatory Minimums

                  Count One: Conspiracy To Launder Monetary Instruments

       A violation of Conspiracy To Launder Monetary Instruments, in violation of 18 U.S.C.

§ 1956(h), carries a maximum sentence of 20 years of imprisonment; a fine of $500,000 or twice

the value of the property involved in the transaction, pursuant to 18 U.S.C. § 1956(a)(1); a term of

supervised release of not more than 3 years, pursuant to 18 U.S.C. § 3583(b)(2); mandatory

restitution under 18 U.S.C. § 3663A; and an obligation to pay any applicable interest or penalties

on fines and restitution not timely made.

                             Count Two: Money Laundering (Sting)

       A violation of Monetary Laundering (sting), in violation of 18 U.S.C. § 1956(a)(3), carries

a maximum sentence of 20 years of imprisonment; a fine of $250,000, pursuant to 18 U.S.C.

§ 3571(b)(3); a term of supervised release of not more than 3 years, pursuant to 18 U.S.C.

§ 3583(b)(2); mandatory restitution under 18 U.S.C. § 3663A; and an obligation to pay any

applicable interest or penalties on fines and restitution not timely made.




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             Count Three: Operating an Unlicensed Money Transmitting Business

       A violation of Operating an Unlicensed Money Transmitting Business, in violation of 18

U.S.C. § 1960(a), carries a maximum sentence of 5 years of imprisonment; a fine of $250,000,

pursuant to 18 U.S.C. § 3571(b)(3); a term of supervised release of not more than 3 years, pursuant

to 18 U.S.C. § 3571(b)(2)-(3); mandatory restitution under 18 U.S.C. § 3663A; and an obligation

to pay any applicable interest or penalties on fines and restitution not timely made.

               Count Four: Money Transmission Without a License (D.C. Code)

       A violation of Money Transmission Without a License, in violation of 26 D.C. Code

§ 1023(c), carries a maximum sentence of 5 years of imprisonment and a fine of $25,000.

       The Court must also impose a $100 special assessment under 18 U.S.C. § 3013.

Additionally, U.S.S.G. § 5E1.2 indicates that the Court may impose a fine that is sufficient to pay

the federal government the costs of any imprisonment, term of supervised release, and period of

probation.

       B. Sentencing Guidelines Calculation

       The government agrees with Probation’s calculation of the defendant’s offense level under

the United States Sentencing Guidelines (“U.S.S.G. or “Guidelines”), as set forth below.




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              Count One: Money Laundering Conspiracy (18 U.S.C. § 1956(h))

                      18 U.S.C. § 1956(h)—Money Laundering Conspiracy

    Base Offense Level (§ 2S1.1(a)(2))                                                       8
           + Value of funds (§ 2B1.1(b)(1)(O))                                             +28
    Knowledge of illicit proceeds—narcotics, child sexual abuse material                    +6
     (§ 2S1.1(b)(1) or § 2S1.3(b)(1) and (3))   +6
    Business of laundering funds (§ 2S1.1(b)(2)(C))                                         +4
    OR 1956 conviction (§ 2S1.1(b)(2)(B) plus sophisticated laundering
    (§ 2S1.1(a)(3)
    Obstruction (§ 3C1.1)                                                                   +2
    False Registration of Domain Name (§ 3C1.4)                                             +2

    Total Offense Level:                                                                    50

       The statutory maximum term of imprisonment for a violation of § 1956 is 20 years.

           Count Two: “Sting” Money Laundering (18 U.S.C. § 1956(a)(3)(A)-(B))

                    18 U.S.C. § 1956(a)(3)(A)-(B)—Sting Money Laundering

    Base Offense Level (§ 2S1.1(a)(2))                                                       8
    Knowledge of illicit proceeds—narcotics, child sexual abuse material                    +6
     (§ 2S1.1(b)(1) or § 2S1.3(b)(1) and (3))   +6
    Business of laundering funds (§ 2S1.1(b)(2)(C))                                         +4
    OR 1956 conviction (§ 2S1.1(b)(2)(B) plus sophisticated laundering
    (§ 2S1.1(a)(3)
    Obstruction (§ 3C1.1)                                                                   +2
    False Registration of Domain Name (§ 3C1.4)                                             +2

    Total Offense Level:                                                                    22

       The statutory maximum term of imprisonment for a violation of § 1956 is 20 years.

  Count Three: Operating an Unlicensed Money Transmitting Business (18 U.S.C. 1960(a))

       The defendant was convicted of 18 U.S.C. § 1960(a), which encompasses three sub-prongs

under 18 U.S.C. § 1960(b)(1)(A)-(C). The first two prongs, namely (b)(1)(A) and (b)(1)(B), are

indexed to U.S.S.G. § 2S1.3. The third prong, (b)(1)(C), is akin to a money laundering offense

and is indexed to U.S.S.G. § 2S1.1. The jury returned a special verdict form unanimously finding




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the defendant guilty under all three prongs. The alternative calculations are set forth below. The

statutory maximum term of imprisonment for a violation of § 1960 is 5 years.

      18 U.S.C. § 1960(b)(1)(C)—Operating an Unlicensed Money Transmitting Business
      Involving Transmission of Funds Derived from a Criminal Offense or Intended To
                                 Promote Unlawful Activity

    Base Offense Level (§ 2S1.1(a)(2))                                                        8
           + Value of funds (§ 2B1.1(b)(1)(O))                                              +28
    Knowledge of illicit proceeds—narcotics, child sexual abuse material                     +6
     (§ 2S1.1(b)(1) or §2S1.3(b)(1) and (3))    +6
    Business of laundering funds (§ 2S1.1(b)(2)(C))                                           +4
    OR 1956 conviction (§ 2S1.1(b)(2)(B) plus sophisticated laundering
    (§ 2S1.1(a)(3)
    Obstruction (§3C1.1)                                                                      +2
    False Registration of Domain Name (§3C1.4)                                                +2

    Total Offense Level:                                                                      50


      18 U.S.C. § 1960(b)(1)(A), (b)(1)(B)—Operating an Unlicensed Money Transmitting
                    Business Without State License or Federal Registration

    Base Offense Level (§ 2S1.3(a)(2))                                                        6
            + Value of funds (§ 2B1.1(b)(1)(O))                                             +28
    Knew funds were proceeds of unlawful activity/intended to promote unlawful               +2
    activity (§ 2S1.3(b)(1))
    Obstruction (§3C1.1)                                                                      +2
    False Registration of Domain Name (§3C1.4)                                                +2

    Total Offense Level:                                                                      40


        Count Four: Money Transmission Without a License (D.C. Code § 26-1023(c))

       Under the District of Columbia Sentencing Commission, Voluntary Sentencing Guidelines

Manual (DCVSG), Money Transmission Without a License is punishable as a Group 9 offense.

DCVSG App. C-13. For a defendant with no prior criminal history, the recommended sentencing

range is 1-12 months of imprisonment. Id. App. A.




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       C. Grouping and Guideline Range

       Pursuant to U.S.S.G. § 3D1.2(a), all four Counts group together because they “involve the

same victim and the same act or transaction.”           The counts also group under U.S.S.G.

§ 3D1.2(d),because the offense levels are determined largely on the basis of the total amount of

harm or loss, and the relevant Guideline Sections, § 2S1.1 and § 2S1.3, are specifically listed under

§ 3D1.2(d). The highest level of the Counts in a Group is Count 1, which is 50. Thus, the adjusted

offense level, assuming that the Court finds there is a preponderance of the evidence to support

the enhancements discussed infra, is level 50. In those instances where the total offense level

exceeds 43, the total offense level is treated as 43 by operation of Application Note 2 to Chapter

Five, Part A. The sentencing range is therefore life.

       It should be noted that pursuant to U.S.S.G § 5G1.2(d), “If the sentence imposed on the

count carrying the highest statutory maximum is less than the total punishment, then the sentence

imposed on one or more of the other counts shall run consecutively, but only to the extent necessary

to produce a combined sentence equal to the total punishment. In all other respects, sentences on

all counts shall run concurrently, except to the extent otherwise required by law.” In this case, the

counts would run consecutively to 50 years, which is less than life.

       D. Relevant Enhancements

               1. Value of Funds (§ 2S1.1(a)(2) and § 2B1.1(b)(1)(O))

       The money laundering Guideline, § 2S1.1, directs the Court to determine “the value of the

laundered funds.” U.S.S.G. § 2S1.1(a)(2). 5 The term “laundered funds” to mean “the property,




5
  Subsection (a)(2) applies because the defendant was acting as a third-party launderer. See United
States v. Campbell, 764 F.3d 874, 877 (8th Cir. 2014) (“[T]he Guidelines distinguish between
direct money launderers in § 2S1.1(a)(1) and third-party launderers in § 2S1.1(a)(2). A direct
launderer commits the crime that produces the illicit funds. A third-party launderer has no


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funds, or monetary instrument involved in the transaction, financial transaction, monetary

transaction, transportation, transfer, or transmission in violation of 18 U.S.C. § 1956 or § 1957.”

Application Note 1 to U.S.S.G. § 2S1.1 (emphasis added). In United States v. Braxtonbrown-

Smith, 278 F.3d 1348 (D.C. Cir. 2002) the D.C. Circuit held that this calculation necessarily

includes the total volume of laundering transactions, not just the percentage that can be traced back

to illegal activity. Id. at 1355 (finding no error where district court “consider[ed] the total amount

of money involved in the charged transactions—$487,290.78—rather than only some portion of

that amount based on the proportion of illegitimate funds in the PDA account in calculating the

value of the laundered funds for under § 2S1.1(b)(2) of the Guidelines.”); see also United States

v. Owens, 159 F.3d 221, 229 (6th Cir. 1998) (holding that “the district court here could consider

all the funds commingled with proceeds of the illicit enterprises” in calculating the amount of

funds laundered). That is consistent with this Court’s prior construction of the appliable forfeiture

statute, 18 U.S.C. § 982(a)(1), which uses the same “involved in” formulation. See ECF No. 116,

at 15 (“Each deposit of funds into Bitcoin Fog therefore contributed to its efficacy and facilitated

its activities—both lawful and unlawful.”); see also ECF No. 310, at 7-9 (Gov’t Reply in Support

of Motion for Preliminary Order of Forfeiture) (collecting cases). Accordingly, the volume of

property involved in the money laundering conspiracy and unlicensed money transmitting business

is equal to the total amount of funds transacted through Bitcoin Fog.

       As established at trial, Bitcoin Fog received approximately 1,284,251 BTC (worth $395.5

million) and sent approximately 1,280,935 BTC (worth $402.8 million). GX 308; 2/21/24 PM Tr.




involvement in the underlying offense but only launders money that the underlying offense
generated.”) (citations omitted).


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at 75. Referring to the loss table in U.S.S.G. § 2B1.1, a value of more than $250 million but less

than $550 million receives a 28-point enhancement.

               2. Knowledge of illicit proceeds (§ 2S1.1(b)(1))

       The evidence presented at trial demonstrated that the defendant “knew or believed that any

of the laundered funds were the proceeds of, or were intended to promote (i) an offense involving

the manufacture, importation, or distribution of a controlled substance or a listed chemical; … or

(iii) an offense involving … the sexual exploitation of a minor.” See § 2S1.1(b)(1). As such, a 6-

point enhancement under 2S1.1(b)(1) is warranted.

       Just prior to launching Bitcoin Fog as a Tor Hidden Service, the defendant posted on a

cyber criminal forum lauding the benefits of Tor Hidden Services. GX 55.a, at 34. In that post,

the defendant explained, “For years, drugs are sold and (unfortunately) child pornography

distributed through [Tor].” Knowing this, the defendant launched a mixing service that was

specifically targeted to users on the Darknet.

       The defendant had an account on Darknet market Silk Road which he used to purchase

drugs, GX 603.a-s, and to launder funds for Bitcoin Fog, Ex. 316, and he promoted Silk Road to

his friends, see GX 863.b. The Bitcoin Fog promotional materials even commented favorably on

Silk Road. See, e.g., GX 1, at3 (Bitcoin Fog Announcement Post: “And once again, running

through Tor makes it not likely for us to be shut down under pressure from the authorities. When

in doubt about this, consider Silk Road.” (At the time the posting was made, Silk Road had not

been shut down by authorities.)).

       As shown at trial, the most prolific users of Bitcoin Fog were individuals selling and buying

drugs on Darknet markets. See GX 601 (summary charts of illicit proceeds), GX 354 (summary

charts of illicit proceeds), GX 601.a (sample Darknet market vendors). The government also




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presented evidence of specific examples of Darknet drug vendors who used Bitcoin Fog, GX 604-

618 and subparts, GX 604-618 and subparts, see, e.g., 3/1/24 AM Tr. at 44-54 (Symbiosis), and

specific examples of child sexual abuse material consumers who used Bitcoin Fog, GX 623-633;

3/1/24 AM Tr. at 114, 120-21; 3/4/24 AM Tr. at 5-11.

       The overwhelming evidence of the defendant’s knowledge of the nature of the funds

moving through his site strongly support an enhancement under 2S1.1(b)(1).

               3. Obstruction (§ 3C1.1)

       Under § 3C1.1, the offense level is increased by two levels if the defendant “willfully

obstructed or impeded, or attempted to obstruct or impede, the administration of justice with

respect to the investigation, prosecution, or sentencing of the instant offense of conviction,” and if

the obstructive conduct related to “the defendant’s offense of conviction and any relevant conduct;

or . . . a closely related offense.” See U.S.S.G. § 3C1.1. Committing perjury is an example of the

type of conduct to which this adjustment applies, so long as such perjury “pertains to conduct that

forms the basis of the offense of conviction.” U.S.S.G. § 3C1.1, App. Note 4(b).

       This enhancement applies, inter alia, where a defendant commits perjury while testifying

at trial. See, e.g., United States v. Thompson, 962 F.2d 1069, 1070 (D.C. Cir. 1992) (affirming

application of a perjury enhancement notwithstanding defendant’s argument that his trial

testimony was “simply a denial of guilt”). To apply the perjury enhancement, “the sentencing

court must determine whether the defendant testified (1) falsely (2) as to a material fact, and (3)

willfully in order to obstruct justice.” Id. at 1071 (citing 18 U.S.C. § 1621 and collecting cases).

The Court need only find that obstruction occurred by a preponderance of the evidence. United

States v. Makki, 47 F. Supp. 2d 25, 29 & n.3 (D.D.C. 1999).




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       The application of this enhancement requires the trial court to make a finding at sentencing

that the testimony was untruthful, material, and willfully obstructive. As the Supreme Court has

explained:

       [I]f a defendant objects to a sentence enhancement resulting from her trial
       testimony, a district court must review the evidence and make independent findings
       necessary to establish a willful impediment to or obstruction of justice, or an
       attempt to do the same, under the perjury definition we have set out.

United States v. Dunnigan, 507 U.S. at 95. This requires a finding that the defendant gave “false

testimony concerning a material matter with the willful intent to provide false testimony, rather

than as a result of confusion, mistake, or faulty memory.” Id. at 94; see also United States v. Smith,

374 F.3d 1240, 1245 (D.C. Cir. 2004) (evaluating required findings of “falsity, materiality, and

willfulness”).

       Here, the defendant’s testimony readily passes that bar. First, the defendant firmly and

unequivocally denied operating Bitcoin Fog:




3/5/24 PM Tr. at 30. This statement is wholly incompatible with the jury’s verdict. The defendant

made other statements that cannot be reconciled with the jury’s verdict finding him guilty on all

counts arising from his operation of Bitcoin Fog. The defendant testified that he first learned about

Bitcoin Fog from another person, whom he met at a meet-up or through peer-to-peer trading:

       It was either on a meet-up or from a person that I was trading with. . . . I remember
       the person that got me into mixing, but I’m not sure if he gave me the actual address
       to Bitcoin Fog or if he told me the name and to look it up or if I found it somewhere
       after talking to him.




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3/6/24 AM Tr. at 31; see also 3/5/24 PM Tr. at 80 (“But Bitcoin Fog was the one that I got

introduced early on, and it just kept working”). That was another lie: if the defendant set up Bitcoin

Fog, including by registering the BitcoinFog.com Clearnet domain, he could not possibly have

learned about Bitcoin Fog from another person he met at a meet-up or through trading.

       The defendant also lied about the source of his Bitcoin wealth, flatly stating: “I didn’t have

any funds that were sourced from Bitcoin Fog.” 3/7/24 AM Tr. at 47. Instead, the defendant

falsely claimed that the Bitcoin he withdrew from Bitcoin Fog was generated from early

investments he had made in Bitcoin (before quitting his job in 2014). See, e.g., id. at 37 (Q: “And

when you were—when you testified, when you say that you were sending funds to Bitcoin Fog to

mix them before sending them to Kraken or another account, where do these funds originate when

they go to Bitcoin Fog in your testimony?” A: “That was the Bitcoin that I had bought and

accumulated buying and selling it.”); 3/5/24 PM Tr. at 58 (Q: “Were some of your funds on your

Mycelium wallet, did they come from the purchases that you made of Bitcoin early on?” A: “Yes.

That’s where they all came from. Most of them. That’s were most of them came from.”). Such

testimony was also contrary to the jury’s verdict and the weight of the government’s evidence

showing that the defendant’s accounts were sourced overwhelmingly from Bitcoin Fog.

       The defendant also testified that he only conducted “[m]aybe a few dozen” transactions on

Bitcoin Fog during the nearly 10-year period from 2011 until 2021. 3/6/24 PM Tr. at 54. That is

impossible to reconcile with the jury’s verdict finding him responsible for the Bitcoin Fog money

laundering conspiracy and illegal money transmitting business.

       The materiality of these statements is clear: if the jury had believed the defendant’s

testimony that he “never operated or was administrator of Bitcoin Fog,” it would have been duty-

bound to acquit.     See U.S.S.G. § 3C1.1. (defining “material” evidence as “evidence, fact,




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statement, or information, as used in this section, means evidence, fact, statement, or information

that, if believed, would tend to influence or affect the issue under determination.”) (emphasis

added). The same goes for the defendant’s other statements falsely claiming that he learned about

Bitcoin Fog from another person he met at a meet-up or trading, falsely claiming that none of his

wealth was “sourced” from Bitcoin Fog, and falsely claiming that he made only a “few dozen”

transactions on Bitcoin Fog over the course of almost 10 years.

       The defendant’s intent to mislead is manifest not only from the face of these statements

themselves, but from the general evasiveness and feigned amnesia that permeated his entire

testimony. When confronted with invoices that he purportedly prepared for “freelance” clients,

but which were paid out of the Bitcoin Fog cluster, the defendant told contradictory and

implausible stories, including testimony that one of the invoices “represents a real job,” which

occurred years before 2017, but which corresponded to a Bitcoin transaction (withdrawing funds

from Bitcoin Fog) in 2017. See 3/7/24 AM Tr. at 39-51. And whenever the defendant was pressed

to provide specific details about any of the key events, his memory suddenly became unreliable. 6



6
  See, e.g., 3/6/24 PM Tr. at 12:19-23 (claiming, “I don’t remember if I had an AurumXChange
account”); 13:3-19 (claiming, “I don’t have a recollection of that. But it’s possible,” and “I don’t
remember this payment. But that’s what the email says,” when confronted with specific
AurumXChange transaction confirmation emails from his email account); 15:9-15 (claiming, “I
don’t remember these transactions. I don’t remember if I logged in or logged out. But that’s what
the records show,” when confronted with transaction records from his Liberty Reserve account);
16:1-2 (claiming, “I think so. I’m not sure,” when asked whether he used CryptoVPN); 16:8-12
(claiming, “I am simply saying that I don’t remember individual transactions like these from 13
years ago,” when asked whether he denied sending $100 to the Mt. Gox account opened with the
email address volfprius@hotmail.com); 17:2-10 (claiming, “I don’t remember specific
transactions like this from 13 years ago. I just don’t remember every time I sent money somewhere
or not send money somewhere,” when asked whether he sent 60 BTC to his Silk Road account);
18:7-14 (claiming, “I don’t know one way or another,” when asked to explain why he sent Bitcoin
from his true-name Mt. Gox account to his Silk Road account through an intermediary Bitcoin
address); 19:8-17 (claiming, “That’s what it says,” when asked to confirm that he withdrew the 60
BTC from his Silk Road account in a withdrawal that was not linked to any purchase); 20:13-25
(claiming, “I’ve got to say, I don’t really remember any transaction from 13 years ago,” when


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Indeed, the defendant claimed he could not even remember whether he registered the

BitcoinFog.com Clearnet domain, 3/6/24 PM Tr. at 4-10.

       To be sure, the obstruction enhancement does not apply where inaccurate testimony is the

result of sincere “confusion, mistake, or faulty memory,” as such testimony may not “necessarily

reflect a willful attempt to obstruct justice.” § 3C1.1, App. Note 2. But the specificity of the

defendant’s false statements, combined with the blizzard of contradictory stories and strategic

memory lapses, including his doubling down on the patently false cover story he attempted to

provide Bitstamp, show that the defendant’s false testimony was not inadvertent—it was deliberate

perjury.

               4. Business of Laundering Funds and/or Sophisticated Means

       U.S.S.G. § 2S1.1(b)(2) sets out a series of enhancements that similarly apply to the

defendant. First, because the defendant was in the business of laundering funds, he should receive

a 4-point enhancement under § 2S1.1(b)(2)(C). Application Note 4 directs the court to consider



asked whether he deposited 89.87 euros into his true-name Mt. Gox account, and confirming that
he could not explain what the transaction was for); 22:8-24 (claiming that he could not remember
details of the transaction from his true-name Mt. Gox account to a Bitcoin address that
subsequently transferred to the nfs9000@hotmail.com Mt. Gox account, and speculating that “it
could be a peer-to-peer sale” and “it could be related to a freelance job” but “I don’t remember
specific details about that”); 24:25-25:3 (claiming, “I have no specific recollection of sending
funds from this account,” when asked about the Liberty Reserve account linked to
shormint@hotmail.com, which was used to pay for the BitcoinFog.com Clearnet domain
registration); 25:4-17 (claiming, “I’m not sure if I wrote it or if I wrote it from somebody’s
instructions or maybe if I copied it from somewhere,” when questioned about a document found
in the defendant’s Google Drive that showed instructions for the same sequence of payments used
to register the BitcoinFog.com Clearnet domain); 40:3 (claiming, “I’m not sure,” and “it could
have been me” or “[t]here’s also another possibility that I was sharing my account with somebody”
when asked if he was the one who reached out to Duncan Townsend about BlindBitcoin); 44:10-
24 (claiming, “I don’t understand” the word “importance,” when asked whether he felt it was
important to save log-in information for his accounts in his password file); 48:5-51:4 (claiming
that it was his practice to add the word “white” to accounts in his password file to mark accounts
that belonged solely to himself, but then admitting that numerous accounts of his were not marked
“white” and “many times I wouldn’t do that on some accounts”).


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the “totality of the circumstances” when applying this enhancement, and provides a non-exhaustive

list of factors for the court to consider. U.S.S.G. § 2S1.1 App. n. 4. These factors include whether

the defendant engaged in laundering funds “regularly,” “during an extended period of time,” or

“from multiple sources,” and whether the defendant “generated a substantial amount of revenue

in return for laundering funds.” Id. Here, this was not a one-off. The defendant ran Bitcoin Fog

for nearly a decade, conducting thousands of transactions and laundering funds for thousands of

customers. He earned millions of dollars’ worth of commissions. GX 325, 2/21/24 PM Tr. at 91-

92. Bitcoin Fog was in the business of laundering money.

       Application of this Guideline reflects the Sentencing Commission’s insight that

“defendants who routinely engage in laundering funds on behalf of others, and who gain

financially from engaging in such transactions, warrant substantial additional punishment because

they encourage the commission of additional criminal conduct.” Commentary n. 22 to Amendment

of Guideline 2S1.1, at 156, available at https://www.ussc.gov/sites/default/files/pdf/amendment-

process/reader-friendlyamendments/20010501_RF_Amendments_0.pdf.

       Even if the defendant were not entitled to a 4-point enhancement for being in the business

of laundering funds, he would receive an enhancement of equivalent value for the counts where

he was convicted of 18 U.S.C. § 1956, because he employed “sophisticated means” § 2S1.1(a)(3).

The Guidelines define “sophisticated means” as “complex or intricate offense conduct pertaining

to the execution or concealment of the 18 U.S.C. § 1956 offense.” U.S.S.G. § 2S1.1 App. n. 5.

The Application Note provides a non-exhaustive list of features that may be involved in

sophisticated means money laundering, including “fictitious entities,” “shell corporations,” “two

or more levels (i.e., layering) of transactions …” or “offshore financial accounts.” Id. The




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defendant’s service was the ultimate layering machine, providing extensive obfuscation for the

defendant’s clients and the defendant himself.

               5. False Registration of Domain Name (§3C1.4)

       Section § 3C1.4 of the Guidelines provides a 2-level increase “[i]f a statutory enhancement

under 18 U.S.C. § 3559(g)(1) applies.” The referenced triggering statute sets forth criminal

penalties for the use of a falsely registered domain name in the commission of a felony offense.

See 18 U.S.C. § 3559(g)(1). The statute defines “falsely registers” as “registers in a manner that

prevents the effective identification of or contact with the person who registers.” Id. A defendant’s

offense level may be increased by 2 levels for false registration of a domain name without being

charged and convicted of violating 18 U.S.C. § 3559(g)(1). 7

       The evidence presented at trial included significant evidence regarding the defendant’s

registration of BitcoinFog.com, the clearnet portal to the Bitcoin Fog money laundering site. As

described in Section I.F, supra, the defendant registered the domain using a pseudonym,

Akemashite Omedetou, and a multi-layer payment process designed to conceal the true owner of

the domain.    This meets the statutory definition of “falsely registered,” under 18 U.S.C.

§ 3559(g)(2)(A), as the domain was “register[ed] in a manner that prevents the effective

identification of or contact with the person who registers.” See GX 2 (BitcoinFog.com screenshot);




7
  The Sentencing Commission made § 3C1.4 conditional on whether 18 U.S.C. § 3559(g)(1)
“applies,” meaning that the conditions set forth in § 3559(g)(1) are satisfied. The use of the word
“applies” contrasts to the language in other Guidelines, such as § 2B1.1(a)(1), that are keyed to
whether a defendant was “convicted” of certain offenses, see, e.g., U.S.S.G. § 2B1.1(a)(1)
(applying higher base offense level if defendant “was convicted” of certain offenses and “that
offense of conviction” has at least 20-year statutory maximum). Application of the sentencing
enhancement under § 3C1.4 is not barred by Apprendi v. New Jersey, 530 U.S. 466 (2000), because
“Apprendi does not apply to sentencing findings that elevate a defendant’s sentence within the
applicable statutory limits.” United States v. Fields, 251 F.3d 1041, 1043 (D.C. Cir. 2001).


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GX 504.a (Bitcoin Fog Domain Registration), and GX 313.a (Chart showing payment for

BitcoinFog.com).

                            SENTENCING RECOMMENDATION

       A. Sentencing Factors

       In United States v. Booker, 543 U.S. 220 (2005), the Supreme Court held that the

Sentencing Guidelines are no longer mandatory. However, the Guidelines are “the product of

careful study based on extensive empirical evidence derived from the review of thousands of

individual sentencing decisions” and “should be the starting point and the initial benchmark” in

determining a defendant’s sentence.        United States v. Gall, 552 U.S. 38, 46, 49 (2007).

Accordingly, this Court “should begin all sentencing proceedings by correctly calculating the

applicable Guidelines range.” Id. at 49.

       Next, the Court should consider all of the applicable factors set forth in 18 U.S.C.

§ 3553(a). Id. at 49-50. The Guidelines themselves are designed to calculate sentences in a way

that implements the considerations relevant to sentencing as articulated in § 3553(a). United States

v. Rita, 551 U.S. 338, 347-351 (2007). The § 3553(a) factors include, inter alia: (1) the nature and

circumstances of the offense; (2) the history and characteristics of the defendant; (3) the need for

the sentence imposed to reflect the seriousness of the offense, to promote respect for the law, to

provide just punishment for the offense, and to afford adequate deterrence to criminal conduct and

protect the public from further crimes of the defendant; (4) the need to avoid unwarranted

sentencing disparities among defendants with similar records who have been found guilty of

similar conduct; and (5) the need to provide restitution to any victims of the offense. See 18 U.S.C.

§ 3553(a)(1)-(7).




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       B. Sentencing Recommendation

       The government recommends that the Court sentence the defendant to a sentence of

imprisonment of 30 years. 8         This represents a downward departure from the Guidelines-

recommended sentence of life in prison (subject to the combined statutory maxima of up to 50

years in prison). In addition, the government recommends that the Court impose a within-

Guidelines fine of $100,000 and enter the government’s Proposed Order of Forfeiture, ECF No.

297-1, at sentencing.    Such a sentence would reflect the extraordinary seriousness of the

defendant’s conduct, promote respect for the law, afford general and specific deterrence, avoid

unwarranted sentencing disparities, and would be reasonable and appropriate in light of the factors

set forth in 18 U.S.C. § 3553(a).

               1. The Nature and Circumstances of the Offense

       The defendant’s criminal conduct is extraordinary in its magnitude and gravity of harm.

For nearly a decade, the defendant operated one of the Darknet’s largest and longest-running

money laundering services.      The defendant specifically catered to users engaged in illegal

activities—including Darknet drug transactions and the trafficking of CSAM images. Through his

online moniker Akemashite Omedetou, the defendant described Bitcoin Fog as a service “for

people who have real problems with the law,” who “might go to jail” if their transactions were

discovered.   GX 53.     Bitcoin Fog, the defendant explained, was designed to prevent the

“authorities” from being able to track users’ transactions. Id. He operated Bitcoin Fog as a Tor

hidden service “[f]or security purposes,” and explained that “this also makes us feel more secure,




8
 The government does not oppose a within-Guidelines term of supervised release, see Draft PSR
¶¶ 130-137, but agrees with the Draft PSR that supervised release is not recommended under the
Guidelines where, as here, the defendant is a deportable alien who will likely be removed following
his sentence. See id. ¶ 137 (citing U.S.S.G. § 5D1.1(c)).


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knowing that we will never be found and dealt with by proper authorities.” Id.; see also GX 1

(“And once again, running through Tor makes it not likely for us to be shut down under pressure

from the authorities. When in doubt about this, consider Silk Road.”). Significantly, Bitcoin Fog

was the result of extensive planning and elaborate steps taken by the defendant over the course

almost ten years—a far cry from a momentary lapse of judgment.

       The defendant knew that his service would be used for criminal purposes. The defendant

posted in the Russian cybercrime forum Exploit.in: “Folks, I will share with you an awesome idea,

stop struggling and get a Tor Hidden Service.”          GX 55.a The defendant explained his

understanding of the illegal commerce on the Tor network: “For years, drugs are sold and

(unfortunately) child pornography distributed through it.” Id. And he recommended that sites

accept Bitcoin to avoid law enforcement scrutiny: “Also, like Silk Road, go ahead and accept

payments in bitcoins; then, you will not be intimidated by even the U.S. Government.” Id.




Ex. 55.a. In another Exploit.in post, the defendant observed that “you can buy interesting things

on Silk Road with bitcoins—well, LSD, cocaine or meth and other hard-to-find things, as an

example.” Ex. 55.a. Posting on BitcoinTalk under his moniker Killdozer, the defendant stated:

“Silk Road mainly sells drugs, that is already illegal, and apparently already enough reason to try



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to shutdown it and bitcoin . . . .” Ex. 13. The defendant well knew the kinds of illegal goods and

services for sale on Silk Road because he had a Silk Road account of his own, which he used to

purchase psychedelic drugs. Ex. 613.a; 3/5/24 PM Tr. at 74; 3/6/24 PM Tr. at 18. In other words,

the defendant knew exactly who the prospective users of his service would be: buyers and sellers

of illegal drugs, CSAM, and other illegal goods and services.

       Just as the defendant intended, criminal actors flocked to Bitcoin Fog. Over the course of

its nearly decade-long operation, Bitcoin Fog processed more than $400 million in untraceable

transactions. See GX 308; 2/21/24 PM Tr. at 74-76 (noting deposits totaling 1,284,251 BTC,

valued at $395.5 million, and withdrawals totaling 1,280,935 BTC, valued at $402.8 million). As

the D.C. Circuit has recognized, the money laundering guideline, § 2S1.1, “measures the harm to

society that the money laundering causes to law enforcement’s efforts to detect the use and

production of ill-gotten gains” based on “the total amount of money involved in the charged

transactions . . . rather than only some portion of that amount based on the proportion of

illegitimate funds.” United States v. Braxtonbrown-Smith, 278 F.3d 1348, 1355 (D.C. Cir. 2002)

(internal quotations omitted); see also United States v. Martin, 320 F.3d 1223, 1227 (11th Cir.

2003) (“Unlike the 1998 Sentencing Guidelines for theft or fraud, which compute the offense level

according to the ‘loss’ incurred by the victim, see U.S.S.G. §§ 2B1.1(b)(1), 2F1.1(b)(1), the 1998

Sentencing Guidelines for money laundering compute the base offense level according to the

‘value of the funds,’ U.S.S.G. § 2S1.1(b)(2). This is so because the harm from such a transaction

does not generally fall upon an individual, but falls upon society in general. Each unlawful

monetary transaction harms society by impeding law enforcement’s efforts to track ill-gotten

gains.”) (cleaned up).




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        Even zeroing in on the proportion of transactions directly traceable to or from known

Darknet markets, the figures are still staggering: Bitcoin Fog processed at least $67 million directly

to or from infamous Darknet drug markets such as Silk Road, AlphaBay, and Agora, as well as the

CSAM trafficking website Welcome to Video. GX 601.

        Trial evidence provided a snapshot of some of the criminal actors who took advantage of

Bitcoin Fog’s laundering capabilities. Darknet drug traffickers such as the cocaine vendors

Symbiosis and TrevorPhilipsEnterprises used Bitcoin Fog to launder hundreds of thousands of

dollars in drug profits:




GX 601.a




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GX 608.q. The hacker Ilya Lichtenstein used Bitcoin Fog to launder a portion of the approximately

120,000 BTC that he stole from a major cryptocurrency exchange. 2/27/24 AM Tr. at 18-20.

Welcome to Video users such as billybob1337 and user28387 used Bitcoin Fog to conceal their

payments in order to gain access to vile images of child sexual abuse.




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GX 623. All of these criminal actors were drawn to Bitcoin Fog—and went through the effort and

expense of accessing Bitcoin Fog through Tor and paying an extra 1-3 percent premium on all

transactions—because Bitcoin Fog held itself out as tool for criminals to make untraceable

transactions and to conceal their identities. The scale of harm facilitated by the defendant is simply

staggering.

        The defendant also designed Bitcoin Fog quite deliberately to be a non-compliant money

transmitting business.     On BitcoinTalk, he acknowledged that legitimate cryptocurrency

exchanges provide the same anonymizing function as a mixer on the public blockchain by pooling

customer funds. The difference, the defendant explained, was that “legitimate” exchanges—unlike

Bitcoin Fog—keep customer records, logs, and respond to legal process from law enforcement.

GX 1.




GX 1 at 44-45. In a similar vein, the defendant explained the distinction between Bitcoin Fog and

the cryptocurrency exchange Blockchain.info, which also offered transaction pooling services,

because “Blockchain.info is a public company with easily identifiable members and staff,” and


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“[i]f any authority will ever want to find information about your money, they will simply go to the

staff members who will have no choice but to reveal information about you . . . .” GX 53 at 217.

Bitcoin Fog, by contrast, “will . . . not cooperate with any authorities,” and “the authorities will

not actually be able to show up at our doorstep, because finding a tor doorstep has proven difficult.”

GX 1 at 3. In other postings, the defendant wrote knowledgeably about Know Your Customer

(KYC) and Anti-Money Laundering (AML) regulations, noting that “[t]he KYC/AML, of course,

has been around, it exists now and will exist in the future,” and “no one will allow the exchange

to work normally without these things.” GX 55.a at 40; see also Ex. 13 at 145 (Killdozer posting

June 27, 2013) (“FinCEN said they are now regulating bitcoins, so all companies need licenses.”).

       Money transmitting business regulations—including the Bank Secrecy Act and the D.C.

Money Transmitters Act—are designed to combat real-world harms. When Congress enacted the

prohibition on unlicensed money transmitting businesses, 18 U.S.C. § 1960, it did so “in order to

combat the growing use of money transmitting businesses to transfer large amounts of the

monetary proceeds of unlawful enterprises.” United States v. Velastegui, 199 F.3d 590, 593 (2d

Cir. 1999). Specifically, Congress found that anti-money laundering regulation in the formal

banking sector had the effect of driving drug traffickers and other criminals toward smaller, often

poorly regulated nonbank financial institutions:

       In the past, drug money laundering deterrence legislation has focused on depository
       institutions. However, as deterrence and compliance programs by depository
       institutions have improved, money launderers with illicit profits have found new
       avenues of entry into the financial system. . . . Increasingly, money launderers are
       using money transmitters, check cashers, money exchanges and other nonbank
       financial companies for initial placement and the number of such businesses is
       growing rapidly in some States.




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S. Rep. No. 101-460 (1990). Section 1960 was enacted to strengthen federal and state regulation

of money transmitters. See id. (“The legislation . . . provides for an expanded federal role in a way

that enhances and supplements State regulation.”).

       Under the Bank Secrecy Act and its implementing regulations, money transmitting

businesses are required to register with FinCEN and comply with federal regulations designed to

combat illicit money laundering. 31 C.F.R. § 1022.380(a)(1). Money transmitting businesses are

required to establish and maintain programs designed to detect and report suspicious activity, and

to maintain certain records “where they have a high degree of usefulness in criminal, tax, or

regulatory investigations or proceedings.” 31 U.S.C. § 5311; see, e.g., 31 U.S.C. § 5318(h)(1); 31

C.F.R. § 1022.210(a) (anti-money laundering programs); 31 U.S.C. § 5318(g)(1); 31 C.F.R.

§ 1022.320(a)(1) (suspicious activity reporting); 31 U.S.C. § 5313; 31 C.F.R. § 1010.311

(currency transaction reporting for transactions involving more than $10,000 in currency). When

money transmitting businesses do not register, it makes it more difficult for FinCEN to identify

them and ensure they are in compliance with these obligations. As Judge Collyer noted in United

States v. E-Gold, Ltd., No. 07-cr-109 (RMC), in sentencing one of the defendants involved in an

unlicensed virtual currency operation: “[T]he failure to register is what leads to the ability of

criminals to make use of the E-Gold system for nefarious purposes . . . Because once you register

you have to report things and therefore it’s not as anonymous or private . . . . So on one hand it’s

just a regulatory compliance issue. On the other hand it’s a very serious problem.” In re Downey,

162 A.3d 162, 170 (D.C. 2017) (opinion on attorney discipline for E-Gold defendant Robert

Downey).

       This case well illustrates the seriousness of the unlicensed money transmitting business

offenses charged under Counts Three and Four. Complying with applicable federal registration




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and District of Columbia licensing requirements would have made it impossible for the defendant

to continue operating Bitcoin Fog as a money laundering business: it would have forced him to

verify customer identities, monitor for suspicious transactions, file Suspicious Activity Reports,

and take steps to prevent his platform from being used for drug trafficking, dissemination of CSAM

images, and other criminal offenses. Doing so would have undermined Bitcoin Fog’s reason for

existence—because Bitcoin Fog served no other purpose than to enable criminality on a vast scale.

The defendant’s decision not to register or license Bitcoin Fog was an integral part of his money

laundering conspiracy, and it should be treated as a comparably serious offense at sentencing.

               2. The History and Characteristics of the Defendant

       The defendant has no prior criminal convictions. He appears to have benefitted from

family support, adequate education, and promising professional opportunities in Sweden. There

is no dispute that the defendant is a gifted computer programmer. Yet he chose to turn his back

on the opportunities he had to use his skills and live a productive life, instead creating Bitcoin Fog

in 2011, quitting his job at Capo Marknadskommunication in or around 2014, leaving Sweden to

reduce his tax liability in or around 2020, and drifting from one European country to another while

living off the proceeds of Bitcoin Fog. See 3/6/24 PM Tr. at 62; 3/7/24 AM Tr. at 34-36. The

government is aware of no mitigating circumstances for the defendant’s crimes. Just the opposite:

the defendant made a calculated decision to pursue a criminal livelihood built on the profits of

drug traffickers, CSAM peddlers, thieves, and other criminals—and maintained that path, year

after year, supporting a succession of criminal users of his service.

       The defendant perjured himself at trial by denying operation of Bitcoin Fog, 3/5/24 PM Tr.

at 30; as well as—among other things—by feigning selective amnesia whenever pressed to provide

specific details about his story, including whether he ever registered the BitcoinFog.com Clearnet




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domain, 3/6/24 PM Tr. at 4-10. The jury necessarily rejected the defendant’s false and unreliable

testimony when it returned a verdict of guilty on all counts. And following the verdict, the

defendant has shown no remorse for his role in operating Bitcoin Fog. His failure to accept

responsibility, combined with his cynical attempt to mislead the jury at trial, weigh in favor of a

substantial sentence.

               3. The Need for the Sentence Imposed To Reflect the Seriousness of the
                  Offense, To Promote Respect for the Law, To Provide Just Punishment for
                  the Offense, and To Afford Adequate Deterrence to Criminal Conduct and
                  Protect the Public from Further Crimes of the Defendant

       The rise of the Darknet and cryptocurrency has fueled criminal activity on an enormous

scale. Law enforcement relies on its ability to track cryptocurrency transactions to investigate and

prosecute cryptocurrency-enabled crimes ranging from drug transactions to cryptocurrency heists

to CSAM offenses. In one example involving the CSAM website Welcome to Video:

       Federal agents used an outside service to analyze the publicly viewable Bitcoin
       blockchain and identify a cluster of Bitcoin addresses controlled by the Website.
       Once they identified the Website's Bitcoin addresses, agents served a grand jury
       subpoena on Coinbase—rather than seeking and obtaining a warrant—for all
       information on the Coinbase customers whose accounts had sent Bitcoin to any of
       the addresses in the Website's cluster. Coinbase identified Gratkowski as one of
       these customers. With this information, agents obtained a search warrant for
       Gratkowski's house. At his house, agents found a hard drive containing child
       pornography, and Gratkowski admitted to being a Website customer.

United States v. Gratkowski, 964 F.3d 307, 309 (5th Cir. 2020).

       The defendant’s service, Bitcoin Fog, was designed for the sole purpose of obstructing

such legitimate law enforcement investigations. As the defendant himself admitted, supra, Bitcoin

users can obtain all the same privacy protections on the public blockchain by using any custodial

exchange that pools customer funds, thus breaking the link between any individual deposit and

outgoing transaction. Bitcoin Fog was unique not because it obscured transactions on the public

blockchain, but because it did so as a criminal service that advertised itself to “people who have



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real problems with the law” and who “might go to jail” if their transactions were discovered, Ex.

53 at 106, deliberately avoided collecting customer records, purged all of its transaction logs,

pledged not to cooperate with the authorities, and operated anonymously on the Darknet in order

to ensure that it remained beyond the reach of the law. The sentence in this case should reflect the

seriousness of the offense, and it should send a strong message to the defendant and to those who

would follow in his footsteps that money laundering is a serious crime that will lead to significant

consequences.

       The sentence imposed in this case should be structured to discourage others from seeking

to emulate the defendant’s criminal scheme. General deterrence is a “crucial factor in sentencing

decisions for economic” crimes. United States v. Morgan, No. 13-6025, 635 F. App’x 423, 450

(10th Cir. Nov. 6, 2015) (unpublished). The legislative history of Section 3553 documents

Congress’s emphasis on general deterrence in white-collar crime. See S. REP. 98-225, 76, 1984

U.S.C.C.A.N. 3182, 3259 (need to deter others is “particularly important in the area of white collar

crime”). “Because economic and fraud-based crimes are more rational, cool, and calculated than

sudden crimes of passion or opportunity, these crimes are prime candidates for general deterrence.”

United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006) (internal quotations and citation

omitted).

       Specific deterrence is also a factor in this case. The defendant engaged in the Bitcoin Fog

money laundering scheme for nearly a decade and was only stopped when he was arrested. He

went to extraordinary lengths to cover his tracks and conceal his identity, perjured himself at trial,

and to date has taken no responsibility for his actions. The defendant’s counsel and defense team,

for their part, have also attempted to frame the defendant’s crimes in ideological terms, falsely

portraying Bitcoin Fog as a misunderstood privacy service while ignoring mountains of evidence




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showing it was designed, marketed, and operated to facilitate drug trafficking, crimes against

children, and other criminal activity. The Court’s sentence should take into account the risk that

an unrepentant and ideologically-motivated defendant would attempt to reconstitute his money

laundering service at his first opportunity.

               4. The Need To Avoid Unwarranted Sentence Disparities Among Defendants
                  with Similar Records Who Have Been Found Guilty of Similar Conduct

       “The best way to curtail ‘unwarranted’ disparities is to follow the Guidelines, which are

designed to treat similar offenses and offenders similarly.” United States v. Otunyo, 63 F.4th 948,

960 (D.C. Cir. 2023) (quoting United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009)); see

also Gall v. United States, 552 U.S. 38, 52 (2007) (“As with the seriousness of the offense conduct,

avoidance of unwarranted disparities was clearly considered by the Sentencing Commission when

setting the Guidelines ranges. Since the District Judge correctly calculated and carefully reviewed

the Guidelines range, he necessarily gave significant weight and consideration to the need to avoid

unwarranted disparities.”). A sentence within the Guidelines range is “presumptively reasonable,”

United States v. Fry, 851 F.3d 1329, 1333 (D.C. Cir. 2017), and this Court need not go any further

in its analysis to confirm that its sentence will not result in any unwarranted sentencing disparities.

       It is significant, however, that the Sentencing Commission statistics prepared for the Draft

PSR show that defendants who were sentenced under the money laundering guideline (§ 2S1.1) at

the same offense level (43) and criminal history category (I) as the defendant received, on average,

sentences well in excess of 20 years in prison—282 months on average, with a median of 280.

Draft PSR ¶ 164. In response to a government request, the Sentencing Commission declined to

provide any identifying information about the individual cases included in the sample, so it is

impossible to determine which comparators genuinely represent defendants “with similar records




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who have been found guilty of similar conduct,” 18 U.S.C. § 3553(a)(6). 9 But the statistics

generally confirm that the government’s recommended sentence here—30 years in prison—is

within the range of sentences that courts have imposed in (relatively) similar cases. And the unique

circumstances of this case—including the singular scale and sophistication of the defendant’s

crimes and the aggravating factor of his perjury at trial—justify a sentence above that bare average.

       The government has been unable to locate any truly comparable cases reflecting the same

staggering amount of money laundered in this case ($400 million), the harms facilitated by the

defendant’s laundering (drug trafficking, CSAM distribution, hacking and theft of

cryptocurrencies, and other crimes), the prolonged duration of the offenses (nearly 10 years), or

the technological sophistication and high degree of obfuscation involved in the defendant’s

scheme, not to mention the defendant’s perjury and refusal to accept responsibility for his actions.

Although not a precise comparator, the sentencing of Ross Ulbricht for operating Silk Road

provides an instructive example. Silk Road operated for less than three years, and it processed

approximately $183 million in drug transactions and other illicit sales. Mr. Ulbricht was convicted

at trial on multiple counts, including drug trafficking offenses, aggravated identity theft, and

money laundering conspiracy. He was sentenced to the statutory maximum on each count,

including two life sentences for the drug offenses and the statutory maximum sentence of 20 years



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  Given the high Guidelines range of the defendants in this sample, it is possible that some of the
defendants’ sentences were artificially limited by statutory maxima. It is also possible that some
defendants entered into plea agreements while others went to trial. See United States v. Webster,
102 F.4th 471, 490 (D.C. Cir. 2024) (“Defendants who go to trial are not ‘similarly situated’ to
those who plead guilty, and therefore ‘the disparity in their treatment’ is generally permissible.”)
(quoting Otunyo, 63 F.4th at 960). Further, the defendant’s adjusted offense level in this case was
actually 50, less two points under the zero-point offender adjustment, see Draft PSR ¶¶ 69, 71, but
it was reduced to 43 by operation of Application Note 2 to Chapter Five, Part A of the U.S.S.G.
Because of this automatic reduction in offense level, it is possible that the defendant’s conduct in
this case was more severe than the conduct of the other defendants included in the Sentencing
Commission’s sample.


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for money laundering conspiracy. See United States v. Ulbricht, S.D.N.Y. No. 14-cr-68 (KBF),

ECF No. 269 (Judgment).

       In pronouncing her sentence, Judge Forrest noted the scale of Silk Road as a “worldwide

criminal drug enterprise with a massive geographic scope,” which “posed serious danger to public

health and to our communities.” United States v. Ulbricht, ECF No. 277 (5/29/14 Sentencing Hr’g

Tr.), at 66. She repeatedly emphasized the calculated and deliberate nature of Mr. Ulbricht’s

scheme to operate Silk Road. Id. at 65-66 (“The nature and circumstances of the crime can be

summed up as a planned, comprehensive, and deliberate scheme to do that which was

unlawful . . . .”); 69 (“You spent several years very carefully planning the site and designing

carefully considered methods of avoiding legal detection both for yourself, for your vendors, and

for your customers, and you sought in all of these ways to put yourself above the law.”); 75 (“The

crimes as to which you stand convicted, Mr. Ulbricht, are crimes which are intentional, they

occurred over a lengthy period of time, you knew exactly what you were doing.”). She commented

on Mr. Ulbricht’s lack of remorse and failure to acknowledge the harm caused by his actions. Id.

at 88 (“And except for your family and friends and the statement you made today, I don’t know

that you feel a lot of remorse for the people who were hurt. I don’t know that you believe you hurt

a lot of people. I don’t think you know that you hurt many.”). And she underscored the importance

of general deterrence in such a novel and high-profile case. Id. at 86-87 (“This is a case in which

general deterrence plays a particularly important role. . . . What you did was unprecedented and

in breaking that ground as the first person you sit here as the defendant now today having to pay

the consequences of that. . . . For those of you considering stepping into your shoes, carrying some

flag, some misguided flag, or doing something similar, they need to understand very clearly and

without equivocation that if you break the law this way there will be very, very severe




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consequences.”).    Likewise, the defendant’s launched Bitcoin Fog near the beginning of

cryptocurrency mixing, and was even the point of comparison for Larry Harmon as he developed

his own mixer. Each of these considerations—the scale of the harm caused, the deliberation

involved in carrying out the scheme, lack of remorse, and the need to deter others from similar

unlawful conduct—applies with equal if not greater force here.

               5. Other Sentencing Issues: Forfeiture, Restitution, and Fines

       The government is not seeking restitution. While Bitcoin Fog caused enormous harm—in

particular by facilitating drug transactions and trafficking of CSAM images—it is not the kind of

harm that is readily quantifiable through restitution. The government requests that the Court enter

the proposed Preliminary Order of Forfeiture, ECF No. 297-1, for the reasons outlined in the

government’s forfeiture briefing, see ECF Nos. 297, 310.

       The government further recommends that the Court impose a within-Guidelines fine of at

least $100,000. See Draft PSR ¶ 157 (calculating fine range for Counts One, Two and Three as

$50,000 to $500,000). The burden rests on the defendant to show inability to pay a fine. See

U.S.S.G. § 5E1.2(a) (“The court shall impose a fine in all cases, except where the defendant

establishes that he is unable to pay and is not likely to become able to pay any fine.”); see, e.g.,

United States v. Rafferty, 911 F.2d 227, 232 (9th Cir. 1990) (holding that “[t]he guidelines establish

that it is the defendant’s burden to prove he is unable to pay a fine”); United States v. Hernandez,

160 F.3d 661, 665 (11th Cir. 1998) (same); United States v. Fair, 979 F.2d 1037, 1041 (5th Cir.

1992) (same). To date, the defendant has offered nothing to carry his burden and establish an

inability to pay. See Draft PSR ¶¶ 117-121.

       Indeed, throughout this litigation, the defendant has consistently misrepresented his access

to financial resources—beginning with his initial false claim of indigency, made to secure




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appointment of an Assistant Federal Public Defender, even as the defendant was secretly paying

at least 1.65 BTC, worth approximately $54,550, to retain Mr. Nemtsev as an undeclared attorney

in or about July 2021. See ECF No. 53, at 6. The pattern continued. As the government

summarized in January of 2023:

          In the defendant’s opening motion [for the return of seized property], he flatly
          declared that he “has nothing to pay his legal fees except for the seized assets.” ECF
          No. 48, at 25 (emphasis added). Now he acknowledges spending $184,000 in
          various assets, plus 1.9 bitcoin (BTC) and 33.4 Monero (XMR), to pay for his legal
          expenses to date. In the defendant’s detention briefing, he ridiculed the government
          for suggesting he had access to gold. . . . Now he acknowledges owning at least
          $36,000 in gold, including gold bullion stored with one of his relatives. And as this
          Court has previously noted, the defendant falsely claimed indigency in order to
          obtain appointed counsel from the Office of the Federal Public Defender, even as
          he was paying for Mr. Nemtsev’s private representation out of his concealed assets.

ECF No. 106, at 13-14. Since then, the defendant’s trial team has continued to solicit donations

from the public in the defendant’s name, although there is no public accounting of any of the funds

raised. The Draft PSR indicates that the defense intends to provide “financial information that was

apparently completed in January 2023.” Draft PSR ¶ 117. The government has not received that

accounting, and if it is the same document as the defendant’s so-called Statement of Net Worth

prepared by defense counsel in or about December 2022, see GX 51, it is not accurate and is not

up-to-date. The defendant has not come remotely close to carrying his burden of showing inability

to pay.




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                                        CONCLUSION

       This is an extraordinary case that calls for significant punishment as supported by the

§ 3553(a) factors. For the foregoing reasons, the information reflected in the Draft PSR, and the

record at trial and in pretrial proceedings, the United States respectfully asks that the Court

sentence the defendant to a below-Guidelines period of imprisonment of 30 years on Counts One,

Two, Three, and Four; impose a fine of $100,000; and enter the government’s proposed

Preliminary Order of Forfeiture at sentencing.



                                             Respectfully submitted,
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